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                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

  IN RE:                                      §
                                              §              CASE NO. 18-41363-13
  JERREL KENEMORE                             §
  JADE ASHLEY KENEMORE                        §
                                              §              CHAPTER 13
  DEBTORS.                                    §

                            DEBTOR’S MOTION TO SEVER

  NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A
  WRITTEN OBJECTION IS FILED WITH THE CLERK OF THE UNITED
  STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY FILING
  THIS PLEADING WITHIN TWENTY-ONE (21) DAYS FROM THE DATE OF
  SERVICE SHOWN IN THE CERTIFICATE OF SERVICE UNLESS THE
  COURT SHORTENS OR EXTENDS THE TIME FOR FILING SUCH
  OBJECTION.

  IF NO OBJECTION IS TIMELY SERVED AND FILED, THIS PLEADING
  SHALL BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER
  AN ORDER GRANTING THE RELIEF SOUGHT. IF AN OBJECTION IS FILED
  AND SERVED IN A TIMELY MANNER, THE COURT WILL THEREAFTER
  SET A HEARING WITH APPROPRIATE NOTICE. IF YOU FAIL TO APPEAR
  AT THE HEARING, YOUR OBJECTION MAY BE STRICKEN. THE COURT
  RESERVES THE RIGHT TO SET A HEARING ON ANY MATTER.



         COMES NOW, Jerrel Loyd Kenenmore and Jade Ashley Kenemore (“Debtors”)

  herein, and file this Motion to Sever the joint administration of the Debtors’ bankruptcy

  and in support thereof would respectfully show the Court as follows:

                                      JURISDICTION

         The Bankruptcy Court has jurisdiction to determine this matter under 28 U.S.C. §

  1334, 28 U.S.C. § 157 and 11 U.S.C. § 105. This is a core proceeding under 11 U.S.C.

  §157 (b).




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                                          FACTS

  1.    On April 2nd, 2018 Debtors filed a voluntary petition for relief under Chapter 13

        of the United States Bankruptcy Code in the Northern District of Texas, Dallas

        Division, Case Number 18-41363-13

  2.    Subsequent to the filing of their Chapter 13 case, Debtors filed for divorce on

        November 7th, 2018, and the final decree was entered on January 8, 2019.

  3.    The last Schedules on file with the court include Debtor, Jerrel Kenemore’s

        former employer and Joint Debtor’s income. Since that time Debtor became

        unemployed, and Joint Debtor ceased contributing to the ch 13 plan.

  4.    A notice of conversion was filed due to debtor becoming unemployed with no

        assistance from his former spouse. An order converting this case to Ch 7 was

        entered on June 5, 2019.

  5.    Due to the divorce, Debtors are not communicating to each other. Debtor’s

        counsel contacted the former Mrs. Kenemore to discuss the merits of the case and

        the benefit of a Ch 7 discharge. The Joint Debtor explicitly stated she wants

        nothing to do with the bankruptcy and will not agree to sign any documents. A

        copy of this motion is being served upon Joint Debtor and sent via email.

  6.    Debtor, Jerrel Kenemore appeared at his section 341 meeting of creditors on

        August 6, 2019, and it has been continued until September 10, 2019.

  7.    Debtor, Jerrel Kenemore requests that the case be severed, and the Joint Debtor,

        Jade Ashley Kenemore, to be dismissed from this bankruptcy upon severance.

  8.    Debtor would request that the original case number for the joint administration be

        retained for Mr. Kenemore upon the granting of this motion.




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  9.     Concurrent with the filing of this motion and upon severance and dismissal of

         Joint Debtor, Jade Kenemore, schedules will be amended as necessary.

         WHEREFORE, PREMISES CONSIDERED, the Debtor respectfully request that

  this Court sever the Debtors’ joint bankruptcy and for such other relief to which the

  Debtors may justly be entitled.

                                            Respectfully submitted,

                                            SHUSTER LAW, PLLC


                                            By: /s/ David Shuster
                                            DAVID SHUSTER
                                            TBN: 24037491
                                            860 Hebron Parkway, Suite 402
                                            Lewisville, Texas 75057
                                            P: (972) 315-6222
                                            F: (972) 315-6223
                                            shuster@jcstexaslaw.com
                                            ATTORNEY FOR THE DEBTORS




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                                CERTIFICATE OF SERVICE

         The undersigned certifies that a true and correct copy of the foregoing instrument
  has been served via electronic notice and/or regular first class mail to the parties on the
  attached Master Mailing Matrix (if any) on the 19th day of August, 2019.


  DEBTOR:
  Jerrel Loyd Kenemore
  1817 Marble Cove Ln
  Denton, TX 76210
  jkenemore@gmail.com

  JOINT DEBTOR (via email and US Mail)
  Jade Ashley Kenemore
  3201 Shore View Dr.
  Highland Village, Texas 75077
  jadekenemore@gmail.com

  STANDING CHAPTER 13 TRUSTEE:
  Pam Bassel
  7001 Blvd 26
  Suite 150
  North Richland Hills, TX 76180

  U.S. TRUSTEE
  Rm. 976
  1100 Commerce Street
  Dallas, TX 75242




                                               By: /s/ David Shuster
                                                   David Shuster




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